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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                 CRIMINAL ACTION

V.                                                       NO. 07-428

ANTHONY MARTIN                                           SECTION "F"


                              ORDER AND REASONS

       Before the Court is Anthony Martin’s motion for reduction of

sentence.      For the reasons that follow, the motion is DENIED.

                                    Background

       Anthony Martin and eight others including his wife were

indicted on December 14, 2007 and charged with participating in a

conspiracy involving the possession of personal checks stolen from

the mail between April 2001 and January 2004.

       On July 31, 2008 Martin pled guilty to one count of conspiracy

to possess stolen mail.           On March 26, 2009, this Court sentenced

Martin    to   21   months   imprisonment     and   three    years     supervised

release; Martin was ordered to pay $4,999.00 in restitution to

cover the estimated loss from his participation in the conspiracy.

On January 14, 2010, Martin’s term of supervised release began.

       In August 2010, an arrest warrant was issued for Martin’s

arrest, and the Government requested that Martin be ordered to show

cause why his supervised release should not be revoked; the

Government     contended     that   Martin   had    violated    his    supervised


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release by not paying the ordered restitution and by testing

positive for cocaine three times since his release.                   The Court

granted   the   Government’s   request   and   scheduled        a    revocation

hearing. At Martin’s revocation hearing on September 22, 2010, the

Court found that Martin violated the terms of his supervised

release, and he was remanded to prison for six months, to be

followed by 12 months of supervised release.

     After his second term of supervised release had commenced, in

2011, following another series of positive drug testing and an

arrest for shop-lifting at a Wal-Mart in Slidell, Martin was placed

in home confinement for six months and ordered to receive mental

health treatment.

     In February 2012, the Government filed a second rule to revoke

Martin’s supervised release.     The Government contended that Martin

had only paid $50.00 toward restitution, and that he had failed two

drug tests.     At the second revocation hearing on March 8, 2012,

this Court found that Martin violated the terms of his supervised

release, and sentenced him to 24 months imprisonment, without

ordering an additional term of supervised release.              According to

the Government, Martin is scheduled to be released from prison on

October 31, 2013.    Martin now seeks a reduction of his 24 month

prison sentence.

                                  I.
                                  A.

     In seeking a reduction of the 24 month prison sentence he is

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currently    serving,     Martin   makes      three    arguments.            First,   he

contends that the sentence he received for his first supervised

release violation was improper because the term of supervised

release     imposed     (12   months)    was     longer     than       the    term    of

imprisonment imposed (6 months).               Second, Martin contends that

because the statute he pleaded guilty to did not explicitly provide

for a term of supervised release, none was allowed to be imposed.

Third, Martin contends that his term of supervised release was

improper because it was a sentencing enhancement and the Government

failed to give proper notice prior to his sentencing hearing.

Based on these arguments, Martin suggests that he never should have

been on supervised release in the first or second instance and,

thus, would never have been able to violate his supervised release

the   second    time,    which   would    make   his     current       incarceration

improper.      Martin’s arguments are without merit.

                                         B.

                                         1.

      Pursuant to 18 U.S.C. §§ 3583(e)(3) and (h), the Court may,

upon a finding by a preponderance of the evidence that a defendant

violated a term of supervised release, “require the defendant to

serve in prison all or part of the term of supervised release,” but

not more than two years, as in this case, where the underlying

offense is a Class D felony.         In addition, the Court “may include

a requirement that the defendant be placed on a term of supervised


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release after imprisonment.” The only limitation as to the period

of the supervised release term imposed after a violation is that it

“shall not exceed the term of supervised release authorized by

statute for the offense that resulted in the original term of

supervised release, less any term of imprisonment that was imposed

upon revocation of supervised release.”          18 U.S.C. § 3583(h).

     Here, because Martin’s original term of supervised release was

36 months and the sentence imposed following the first revocation

proceeding was six months, this Court could have included up to 30

months   of   supervised   release   following    his   first   revocation.

Accordingly, in advancing his argument that this Court could not

sentence him to a term of supervised release longer than the

accompanying prison term, Martin misconstrues the applicable law as

it applies to his case.     The Court was well within its discretion

to impose a 12 month term of supervised release following his

initial revocation.

                                     2.

     Martin’s second argument (that supervised release should not

have been included because the statute to which he pleaded guilty

did not expressly provide for a term of supervised release) has no

basis in law.     “The court in imposing a sentence to a term of

imprisonment for a felony or a misdemeanor, may include as a part

of the sentence a requirement that the defendant be placed on a

term of supervised release after imprisonment....” 18 U.S.C. §


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3583(a)(emphasis added).1        Clearly the Court has discretion to

include as part of a sentence the requirement that the defendant be

placed on supervised release after imprisonment, even if such a

requirement is not expressly required by statute.

                                    3.

     Martin’s final argument that his first and second supervised

release violations were sentencing enhancements improperly imposed

without notice likewise fails as a matter of law.            He provides no

support for this contention, which is contrary to the statutory

authority   referenced   above.2     The    Government    points    out   that

supervised release is governed by statute (18 U.S.C. § 3582), and

is not an enhancement as that term is understood under the Federal

Sentencing Guidelines.      The Court agrees.

     Because Martin’s three arguments are without merit, it follows

that the conclusion Martin ultimately requests the Court to draw

(that he should have never been on supervised release the first or

second time and, thus, he would not have been able to violate his

supervised release the final time, which would make his current

incarceration   improper)      likewise    fails.    Accordingly,       IT     IS



     1
      Further, § 3583(a) states that the Court “shall include as
a part of the sentence a requirement that the defendant be placed
on a term of supervised release if such a term is required by
statute.” 18 U.S.C. § 3583(a)(emphasis added).
     2
      See also, generally, Johnson v. United States, 529 U.S. 694
(2000)(attributing post-revocation penalties to the original
conviction).

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ORDERED: that the motion for reduction of sentence is DENIED.

                     New Orleans, Louisiana, February 20, 2013



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                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




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